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          DEPARTMENT OF HEALTH& HUMAN SERVICES                                    Office of Inspector General



                                                                                   Memorandum
Date       .SEP 419%’
From      June Gibbs Bro
                       p&bOq
          Inspector Gener 1
Subject
          Review of Ph       y Acquisition Costs for Drugs Reimbursed Under the Medicaid
          Prescription Drug Program of the North Carolina Department of Human Resources
To        (A-06-95 -OO071)

          Bruce C. Vladeck
                                              .
          Administrator
          Health Care Financing Administration


          Attached for your information and use is our final report entitled, “Review of
          Pharmacy Acquisition Costs for Drugs Reimbursed Under the Medicaid Prescription
          Drug Program of the North Carolina Department of Human Resources.” Tl& review
          was conducted as part of a nationwide audit of pharmacy drug acquisition costs at the
          Health Care Financing Administration’s request. Most States reimburse pharmacies
          for Medicaid prescriptions using a formula which generally discounts the average
          wholesale price (AWP) by 10.5 percent. The objective of our review was focused on
          developing an estimate of the difference between the actual acquisition costs of drugs
          of pharmacies and AWP for both brand name and generic drugs.

           The North Carolina Department of Human Resources (State Agency) was 1 of 11
           States randomly selected as part of the nationwide review. North Carolina reported
           drug expenditures of $222.5 million in Calendar Year 1994.

          Through statistical sampling, we obtained pricing information from 33
          North Carolina pharmacies. We obtained 1,109 invoice prices for brand name drugs,
          and 704 invoice prices for generic drugs. The overall estimate of the extent that
          AWP exceeded pharmacy purchase invoice prices was 16.9 percent for brand name
          drugs and 45.2 percent for generic drugs. The national estimates are 18.3 percent
          and 42.5 percent, respectively. The estimates combine the results for four categories
          of pharmacies including rural-chain, rural-independent, urban-chain, and urban-
          independent. The estimates exclude the results obtained from non-traditional
          pharmacies (nursing home pharmacies, hospital pharmacies, home IV, etc.) because
          such pharmacies purchase drugs at substantially greater discounts than retail
          pharmacies, and including them would have inappropriately inflated our percentages.
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    Page 2- Bruce C. Vladeck

    We are recommending that the State Agency consider the results of this review as a
    factor in any fi.lture changes to pharmacy reimbursement for Medicaid drugs.

    In response to our draft report, the Secretary of the State Agency stated that the
    method used to determine the sample and calculation of the estimated acquisition cost
    for drugs is similar to a method used by the State Agency. The Secretary believes
    this report will be of great use in the State Agency’s next review of the drug
    program. The State Agency’s comments are incorporated in our final report.

    We welcome any comments you havd on this North Carolina State report. If you
    have any questions, call me or have your staff contact George M. Reeb, Assistant
    Inspector GeneraI for Health Care Financing Audits, at (410) 786-7104.

    To facilitate identification, please refer to Common Identification Number
    A-06-95 -OO071 .

    Attachment




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   Department of Health and Human Services
             OFFICE OF
        INSPECTOR GENERAL




             REVIEW OF
  PHARMACY ACQUISITION COSTS FOR
    DRUGS REIMBURSED UNDER THE
MEDICAID PRESCRIPTION DRUG PROGRAM
              OF THE
          NORTH CAROLINA
   DEPARTMENT OF HUMAN SERVICES




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                                                               SEPTEMBER 1996
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                                                 SUMMARY

      A     t the request of the Health Care Financing Administration (HCFA), the Office of Inspector
            General (OIG) conducted a nationwide review of pharmacy acquisition costs for drugs
      reimbursed under the Medicaid prescription drug program. Since most States reimburse
      pharmacies for Medicaid prescriptions using a“formula which discounts the average wholesale
      price (AWP), the objective of our review was to develop an estimate of the difference between
      the actual acquisition costs of drugs of the pharmacies and AWP for brand name and generic
      drugs.

      To accomplish our objective, we selected a random sample of 11 States from a universe of 48
      States and the District of Columbia. Arizona was excluded from the universe of States because
      the Medicaid drug program is a demonstration project using prepaid cavitation financing and
      Tennessee was excluded because of a waiver received to implement a statewide managed care
      program for Medicaid. North Carolina was one of the sample States selected, as well as
      California, Delaware, District of Columbia, Florida, Maryland, Missouri, Montana, Nebraska,
      New Jersey, and Virginia.

      Additionally, we selected a sample of Medicaid pharmacy providers from each State and
      obtained invoices of their drug purchases. The pharmacies were selected from each of five
      categories--rural-chain, rural-independent, urban-chain, urban-independent and non-traditional
      pharmacies (nursing home pharmacies, hospital pharmacies, etc.). We included the non-
      traditional category so as to be able to exclude those pharmacies from our overall estimates. We
      believed such pharmacies purchase drugs at substantially greater discounts than retail
      pharmacies, and including them would have inflated our percentages.

      We compared each invoice drug price to AWP for that drug and calculated the percentage, if any,
      by which AWP exceeded the invoice price. We then projected those differences to the universe
      of pharmacies in each category for each State and calculated an overall estimate for each State.
      Additionally, we projected the results from each State to estimate the nationwide difference
      between AWP and invoice price for each category.

      In North Carolina, we obtained pricing information from 33 pharmacies. Specifically, we
      obtained 1,109 invoice prices for brand name drugs, and 704 invoice prices for generic drugs.
      For North Carolin~ the overall estimate of the extent that AWP exceeded invoice prices was
      16.9 percent for brand name drugs and 45.2 percent for generic drugs. The national estimates are b
      18.3 percent and 42.5 percent, respectively. The estimates combine the results for four
      categories of pharmacies including rural-chain, rural-independent, urban-chain and urban-
      independent and exclude the results obtained from non-traditional pharmacies.



        Review of Pharmacy Acquisition Costs for Drugs Reimbursed Under the Medicaid Prescription Drug Program
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    We are recommending that the North Carolina Department of Human Resources (State Agency)
    consider the results of this review as a factor in any fiture changes to pharmacy reimbursement
    for Medicaid drugs. We will share the information with HCFA from all 11 States in a
    consolidation report for their use in evaluating the overall Medicaid drug program.

    The Secretary of the State Agency responded to our draft report in a letter dated, July 1, 1996.
    The Secretary stated the State Agency had used a similar methodology in previous reviews of the
    drug program and that our report would be of great use in the next review of the drug program.
    The full text of the Secretary’s comments are included in Appendix 4.




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      Review of Pharmacy Acquisition Costs for Drugs Reimbursed Under the Medicaid Prescription Drug Program
                              of the North Carolina Department of Human Resources
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                                           I NTRODUCTION
    At the request of HCFA, OIG, Office of Audit Services (OAS) conducted a review of pharmacy
    acquisition costs for drugs reimbursed under the Medicaid prescription drug program of the
    North Carolina Department of Human Resources (State Agency). The objective of our review
    was to develop an estimate of the difference between the actual acquisition costs of drugs and
    AWP. This review was conducted as a part of a nationwide review of pharmacy acquisition
    costs. North Carolina was 1 of 11 States randomly selected as part of the nationwide review.

    BACKGROUND

    Medicaid regulations provide for the reimbursement of drugs using two methods. If a drug is a
    multiple source (generic) drug, then reimbursement is based on the lower of the pharmacist’s
    usual and customary charge to the general public or an upper limit amount plus a dispensing fee.
    The Federal upper limit amounts are established by HCFA. If a drug is a single source (brand
    name) drug, or a generic drug for which an upper limit amount has not been established, then the
    reimbursement is the lower of the pharmacist’s usual and customary charge to the g&eral public
    or the estimated acquisition cost (EAC) plus a reasonable dispensing fee. The State agencies are
    responsible for determining the EAC and the dispensing fee.

    The EAC for most States is calculated by using AWP for a drug less some percentage. The
    AWP is the price assigned to the drug by its manufacturer and is listed in either the Red Book,
    iWedispan or the Blue Book--publications universally used in the pharmaceutical industry. Prior
    to 1984, most States used 100 percent of AWP for reimbursement of acquisition costs. However,
    OIG issued a report in 1984 which stated that, on average, pharmacies purchased drugs for
     15.9 percent below AWP. In 1989, OIG issued a follow-up report which concluded that
    pharmacies were purchasing drugs at discounts of 15.5 percent below AWP. Both the 1984 and
     1989 reports combined brand name and generic drugs in calculating the percentage discounts and
    included a comparison of 3,469 and 4,723 purchases, respectively.

    In 1989, HCFA issued a revision to the State Medicaid Manual which pointed out that a
    preponderance of evidence demonstrated that AWP overstated prices that pharmacies actually
    paid for drugs by as much as 10 to 20 percent. The Manual further provided that, absent valid
    documentation to the contrary, it would not be acceptable for a State to make reimbursements
    using AWP without a significant discount.
                                                                                                               &
    In November 1990, the Omnibus Budget Reconciliation Act of 1990 was passed which placed a
    4-year moratorium on changes to States’ reimbursement policies. The moratoi-ium expired on
    December 31, 1994 and HCFA requested that we, once again, determine the difference between
    AWP and actual pharmacy acquisition cost.


      Review of Pharmacy Acquisition Costs for Drugs Reimbursed Under the Medicaid Prescription Drug Program
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The State Agency reported drug expenditures of $222.5 million in Calendar Year (CY) 1994.

SCOPE

Our review was performed in accordance with generally accepted government auditing standards.
The objective of our review was to develop an estimate of the difference between AWP and the
actual invoice prices of both brand name and generic prescription drugs to Medicaid pharmacy
providers. Our objective did not require that we identi& or review any internal control systems.

Our review was limited to ingredient acquisition costs and did not address other areas such as:
the effect of Medicaid business as a contribution to other store sales; the cost to provide
professional services other than dispensing a prescription such as therapeutic interventions,
patient education, and physician consultation; and the cost of dispensing which includes costs for
computers, multi-part labels, containers, tectilcal staff, transaction fees, Medicaid specific
administrative costs, and general overhead. We also did not take into consideration the effect of
Federal upper limit amounts on generic drug reimbursements or usual and customary charge
limitations. We plan to evaluate the effect of the Federal upper limit amounts on generic drug
reimbursements in a subsequent review.

We obtained a listing of all Medicaid pharmacy providers from the State Agency. The State
Agency was responsible for classi~ing each pharmacy as chain, independent or non-traditional.
For purposes of this review, a chain was defined as four or more pharmacies with common
ownership. We determined whether each pharmacy was rural or urban by comparing the county
location for each pharmacy to a December 31, 1992 listing of metropolitan areas and their
components. We selected a stratified random sample of 60 pharmacies with 12 pharmacies
selected from each of 5 strata--rural-chain, rural-independent, urban-chain, urban-independent,
and non-traditional (nursing home pharmacies, hospital pharmacies, home IV, etc.). We
included the non-traditional category so as to be able to exclude those pharmacies from our
estimates. We believed that such pharmacies are able to purchase drugs at substantially greater
discounts than a retail pharmacy and would inflate our estimate.

We requested, from each pharmacy selected, the largest invoice from each different source of
supply for a specified month in CY 1994. We identified the sources of supply as wholesalers,
chain warehouse distribution centers, generic distributors, and direct manufacturer purchases.
Each pharmacy was initially assigned a month fi-om January through September in order to
provide a cross-section of this 9-month time period. However, we permitted some pharmacies to
provide invoices from November as invoices were not available from the earlier period.

We reviewed every line item on the invoices supplied by the sample pharmacies to ensure that
the invoices contained the information necessary for our review. We eliminated over-the-counter

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    items. Some invoices did not include National Drug Codes (NDC), which were needed to obtain
    AWP for the drug. We attempted to obtain NDCS in those instances. We used the 1994 Red
    Book, a nationally recognized reference for drug product and pricing information, to obtain
    NDCS or identi~ over-the-counter items. One prominent wholesaler, whose invoices contained
    that wholesaler’s item number rather than NDCS, provided us with a listing that converted their
    item number to an NDC. If we were unable to identify the NDC for a drug, we eliminated the
    drug. This was a common occurrence for generic drugs where there was no indication on the
    invoice as to the manufacturer of the drug.

    We obtained a listing from HCFA that indicated whether a drug is a brand name or generic drug.
    We used that listing to classi& each drug on the invoices as brand or generic. If a drug was not
    on the HCFA listing, we used the Red Book to determine whether the drug was brand or generic.
    Additionally, we obtained drug expenditure information from HCFA-64 Reports.

    The State of Missouri provided us with a pricing file for the purpose of obtaining the AWP for
    each drug. We compared the invoice drug price to AWP for each drug and calculated the
    percentage, if any, by which AWP exceeded the invoice price. If a drug from an invoice was not
    on the pricing file we eliminated that drug.

    An initial meeting was held in Richmond, Virginia on August 30-31, 1994, with Medicaid
    pharmacy representatives fi-om the sample States. At this meeting, we presented a methodology
    for performing the review and the methodology was refined with input from the State
    representatives. At a follow-up meeting held in Richmond, Virginia, on September 27-28,
    1995, we presented the results of our review with the sample States.

    We used OAS statistical computer software to calculate all estimates as well as to generate all
    random numbers. We did not independently verify any information obtained from third party
    sources. Our review was conducted by our Little Rock, Arkansas OAS field office with
    assistance from our OAS field offices in Baton Rouge, Louisiana, and Austin, Texas from
    September 1994 to September 1995.




      Review of Pharmacy Acquisition Costs for Drugs Reimbursed Under the Medicaid Prescription Drug Program
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                       FINDINGS AND RECOMMENDATIONS
 BRAND NAME DRUGS

 We estimate that AWP cxcccdcd invoice prices for brand num drugs by 16.9 percent. The
 estimate combined all pharmacy categories except non-tradiliomd pharnuwics and was based on
 the comparison to AWP of 847 invoice prices received from 22 pharmacies. The standard
 deviation for this estimate was 1.25 percent (see Appendix 2).

 The estimates that AWP exceeded invoice prices by for brand riume drugs are summarized in the
 following table:

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 The following table shows the number of pharmacies sampled and the number of prices reviewed
 by individual category for brand name drugs.

                                          Number o f                                                                                              -rices F r o m
                                       Sample P h a r m a c i e s                                                                              Samplo Pharmacies




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     Review of Pharmacy Acquisition Costs for Drugs Reimbursed Under lhc Medicaid Prwxiption Drug program
                             of the North Carolina Department of Human Resources
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 GENERIC DRUGS

 We estimate that AWP exceeded invoice prices for generic drugs by 45.2 pcrccnt. Once again
 the estimate combined all pharmacy categoiics except non-traditional pharmacies. The estimate
 wm based on the comparison to AWP of531 invoice prices received from 22 pharmacies. The
 standard deviation for this estimate was 2.00 percent (see Appendix 2).

 The estimates that AWP exceeded invoice prices for generic drugs are summarized by individual
 categories in the following table:

                                                  Estimated Diffebrencaa



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        6   0


        4   0


        so


        2   0


        1   0


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                                                                                                                  /
                                                                                                            overall
                         Chmln             Ina.p. md.nt        Chmln   krwl.p-nd.nt        (Non-r)        (Exaludlng
                                                                                                            No.T>




 The following table shows the number of pharmacies sampled and the number of prices reviewed
 by indhidual category for the generic drugs.


                                       Number o f                                Prices f r o m
                                    Sampie P h a r m a c i e s                Sampie P h a r m a c i e s
                                    A                                       A

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    Review of Pharmacy Acquisition Costs for Drugs Reimbursed Under the Medictid Prescript ion Drug Program
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                         C ONCLUSIONS                 AND         RECOMMENDATION

        Based on our review, we have determined that there is a significant difference between AWP and
        pharmacy acquisition costs. The difference between AWP and pharmacy acquisition costs is
        significantly greater for generic drugs than for brand name drugs. In general, State
        representatives believed that the review supported current State practices to establish pharmacy
        reimbursement for ingredient cost at levels below AWP.

        We recognize that acquisition cost is just one factor in pharmacy reimbursement policy and that
        any change to that policy should also consider the other factors discussed in the Scope section of
        our report. Additionally, the effect of Federal upper limit amounts on generic drug
        reimbursements or usual and customary charge limitations should be taken into consideration.
        However, a change in any of the factors affecting pharmacy reimbursement could have a
        significant impact on expenditures because of the size of the program ($222.5 million) in
        North Carolina. We believe that the difference between AWP and pharmacy acquisition costs as
        determined by our review is significant enough to warrant consideration by the State in any
        evaluation of the drug program. Therefore, we recommend that the State Agency consider the
        results of this review in determining any fhture changes to pharmacy reimbursement for
        Medicaid drugs.

        STATE AGENCY’S COMMENTS

        The Secretary of the State Agency responded to our draft report in a letter dated, July 1, 1996.
        The Secretary stated the State Agency had used a similar methodology in previous reviews of the
        drug program and that our report would be of great use in the next review of the drug program.
        The full text of the Secretary’s comments are included in Appendix 4.




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          Review of Pharmacy Acquisition Costs for Drugs Reimbursed Under the Medicaid Prescription Drug Program
                                  of the North Carolina Department of Human Resources
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                                                                               APPENDIX 1
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                                SAMPLE DESCMPTION

    Sample Objectives:

          Develop an estimate of the extent that Average Wholesale Prices (AWP) exceed actual
          invoice prices to Medicaid pharmacies in North Carolina for brand name drugs and for
          generic drugs.

    Population:

          The sampling population was pharmacy providers participating in the Medicaid
          prescription drug program of the State Agency.

    Sampling Frame:

          The sampling frame was a listing of all pharmacy providers participating in the Medicaid
          prescription drug program.

    Sample Design:

          A sample of 12 pharmacies was randomly selected from each of 5 strata. The five strata
1
          of pharmacies were rural-chain, rural-independent, urban-chain, urban-independent, and
          non-traditional (nursing home pharmacies, hospital pharmacies, home IV, etc.). Each
          pharmacy was assigned a month from 1994 for which to provide invoices. All
          pharmacies were initially assigned a month from January through September in a method
          designed to provide a cross-section of the 9-month period. However, some pharmacies
          were permitted to submit invoices fi-om November as invoices were not available for the
          month originally assigned. The largest invoice horn each of four different sources of
          supply was requested. The sources of supply were identified as wholesalers, chain
          warehouse distribution centers, generic distributors, and direct manufacturer purchases.
          All invoice prices were compared to AWP.

    Sample Size:

          Twelve pharmacies were selected from each stratum for a total of 60 pharmacies.

    Source of Random Numbers:

          OAS statistical sampling software was used to generate the random numbers.
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                                                                                   APPENDIX 1
                                                                                   PAGE20F2

        Characteristics to be iWeasured:

              From our review of the pharmacy invoices, we calculated the percentage that AWP
              exceeded actual invoice prices for all drugs on the invoices submitted.

        Treatment of iMissing Sample Items:

              No spare was substituted for a pharmacy that did not provide tiorrnation. If a pharmacy
              did not send an invoice for a particular type of supplier, we assumed that the pharmacy
              did not purchase drugs from that type of supplier during the month assigned to the
              phzgmacy.

        Estimation iMethodolo~:

              We used OAS Statistical Software to project the percentage difference between AWP and
              actual invoice prices for each stratum, as well as an overall percentage difference. The
              overall percentage difference excluded the non-traditional pharmacies. The projections
              were done separately for brand name drugs and generics.
t
        Other Evidence:

              We obtained AWP from First DataBank.




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                                                                    APPENDIX 2
                  NORTH CAROLINA SAMPLE RESULTS
                  BRAND NAME AND GENERIC DRUGS




                            379     &    251      14.9      6.82       9.91   19.8$

                            451     t    258      13.3      6.63       9.45   17.1(

                            745           184     20.8      3.38      17.63   24.04

                            502     6     154     15.9      7.36      40.94   20.7t

                            142    11    262      33.5     17.84      24.96   41.9[

                           2,077   z      847     16.9      1.2s      14.84   18.97




                            379     5     162     49.5     14.31      39.08   60.(X

                            451     f     20(     48.2      7.72      43.70   52.6C

                            745           9;      38.6      4.40      34.43   42.77

                            502     t      71     48.9     12.36      40.67   57.1;

                            142           17:     52.4      7.88      47.59   57.1:

                           2,077   z      531     45.2      2.(XI     41.88   48.4!
.
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                                                                     APPENDIX 3

                              NATIONWIDE SAMPLE RESULTS
                             BRAND NAME AND GENERIC DRUGS




    RUMIXHMN                     1,095    72    5,723
                                                        I   17.4a   1.05   15.67   19.13

    RURAL—INDEENDENT             1,49s    78    3,043       16.39   l.m    14.6?   18.15

    URBAN-cIiAtN                 8,194    73    7,198       18.45   0.52   17.6C   19.31

    uRBAN—~                      6342     91    3,009       18.71   0.9(   17.22   20.19

    NON-TRADITIONAL              2*WX     6t    1,762       2752    22f    23.76   31.27

    OVERALL (EXU. NON-TRAD      17,03(   315   18,973       18.3C   0.6(   17.21   19.38




                                               i
    RURMXMUN                     1,095    73   Z%3          4751    1.63   44.82   50.20

    RURM—~                       1,49s    78    1,798       47.38   0.93   45.85   48.92

    URBAN-CHAIN                  8,194    72   2,634        37.61   2.82   32.97   42.26

    mm-~                         6,242    91    1,680       46.72   244    42.70   50.73

    NON-TIL%DITIONAL             2JM      5s    1352        57.70   1.9:   54.43   60.96

    OVERM.L (EXU. NON-TRMI      17,03(   314   9,075        42.45   0.9(   40.97   43.93
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.   .                                                                                 APPENDIX 4
                                                                                          Page 1 of 2


                        North Carolina Department of Human Resources
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                                                            �


                                    (919) 733-4534
                                                �                   Courier 56-20-00 ~

James B. Hunt Jr., Govern&                                                                 C . R o b i n Bntt, Sr., Secreta~ -


                                                    July 1, 1996




    Hs. June Gibbs Brown
    Inspector General
    Department of Health & Human Services
    Cohen Building
    330 Independence Avenue, S.W.
    Washington, D.C.    20201

                                                         RE : Review of Pharmacy Acquisition
                                                                Costs (Draft) A-06-95-00071

    Dear Ms. Brown:

         Thank you for the opportunity to review and comment on the above referenced
    OIG review. The draft has been reviewed by the appropriate staff within the
    Division of Medical Assistance (DMA), the state agency responsible for the
    Medicaid program.

          The DMA staff have noted that the method used to determine the sample and
    calculation of the Estimated Acquisition Cost (EAC) is essentially the same as
    that used by DMA prior to the federal moratorium on States’ drug program
    reimbursement policies. The DMA review review of 1990 identified an EAC that
    was approximately 15.5% below the Average Wholesale Price (AWP) for brand name
    drugs. Since the multiple source drug pricing is set by HCFA the DMA did not
    review those costs.

          The States’ Medicaid reimbursement policy for brand named drugs was
    established at AWP - 10%, recognizing that the reimbursement policy needed to be
    set at a level that permitted access by the Medicaid recipient to a pharmacy
    provider that is relatively convenient. Based upon a review of the North                                            &
    Carolina sample results obtained by you, the same pattern repeats. The point
    estimate for the Rural-Independent provider is at AWP - 13.3%. The statewide
    estimate of AWP - 16.9% would appear to be an excessive reduction when applied
    to all provider types.

         We have recognized the problems that arise from balancing the appropriate
    E A C against assuring adequate access to providers by the recipient. Towards
    that end our reimbursement policy was crafted to permit payment of brand named
    drugs at the lower of the providers billed amount compared to the maximum of the
    allowed AWP - 10% plus a dispensing fee. This policy has consistently generated
    an average payment for brand named drugs that is below the allowed amount.
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         Periodically the DMA reviews different provider types to compare industry
    costs against the payments permitted by the reimbursement policy. Your report
    will be of great use in the next review that will be done on the drug program.

         If we can be of any further assistance please let me know or you may
    contact Barbara Matula, Director, Division of Medical Assistance.

                                           Sincerely,

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                                           C. Robin Bri.tt, ‘Sr.


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